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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

UNITED SERVICES AUTOMOBILE                   )
ASSOCIATION                                  )
a Texas reciprocal inter-insurance exchange, )
                                             )
               Plaintiff,                    )
                                             )
                                                     Civil Action No. 2:18-CV-366
        v.                                   )
                                                     JURY TRIAL DEMANDED
                                             )
WELLS FARGO BANK, N.A.,                      )
a national banking association,              )
                                             )
                Defendant.                   )




                                 DOCKET CONTROL ORDER

       In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

January 6, 2020             *Jury Selection – 9:00 a.m. in Marshall, Texas

December 16, 2019           *Pretrial Conference – 9:00 a.m. in Marshall, Texas before Judge
                            Rodney Gilstrap

December 11, 2019           *Notify Court of Agreements Reached During Meet and Confer

                            The parties are ordered to meet and confer on any outstanding
                            objections or motions in limine. The parties shall advise the Court of
                            any agreements reached no later than 1:00 p.m. three (3) business
                            days before the pretrial conference.

December 2, 2019            *File Joint Pretrial Order, Joint Proposed Jury Instructions, Joint
                            Proposed Verdict Form, Responses to Motions in Limine, Updated
                            Exhibit Lists, Updated Witness Lists, and Updated Deposition
                            Designations
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November 25, 2019    *File Notice of Request for Daily Transcript or Real Time Reporting.

                     If a daily transcript or real time reporting of court proceedings is
                     requested for trial, the party or parties making said request shall file a
                     notice with the Court and e-mail the Court Reporter, Shelly Holmes,
                     at shelly_holmes@txed.uscourts.gov.

November 22, 2019    File Motions in Limine

                     The parties shall limit their motions in limine to issues that if
                     improperly introduced at trial would be so prejudicial that the Court
                     could not alleviate the prejudice by giving appropriate instructions to
                     the jury.

November 22, 2018    Serve Objections to Rebuttal Pretrial Disclosures


November 8, 2019     Serve Objections to Pretrial Disclosures; and Serve Rebuttal Pretrial
                     Disclosures

November 1, 2019     Serve Pretrial Disclosures (Witness List, Deposition Designations,
                     and Exhibit List) by the Party with the Burden of Proof

September 30, 2019   *File Motions to Strike Expert Testimony (including Daubert
                     Motions)

                     No motion to strike expert testimony (including a Daubert motion)
                     may be filed after this date without leave of the Court.

September 30, 2019   *File Dispositive Motions

                     No dispositive motion may be filed after this date without leave of
                     the Court.

                     Motions shall comply with Local Rule CV-56 and Local Rule CV-7.
                     Motions to extend page limits will only be granted in exceptional
                     circumstances.   Exceptional circumstances require more than
                     agreement among the parties.

September 30, 2019   Deadline to Complete Expert Discovery

September 13, 2019   Serve Disclosures for Rebuttal Expert Witnesses


August 23, 2019      Deadline to Complete Fact Discovery and File Motions to Compel
                     Discovery



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August 23, 2019      Serve Disclosures for Expert Witnesses by the Party with the Burden
                     of Proof

July 26, 2019        Deadline to Complete Mediation

                     The parties are responsible for ensuring that a mediation report is
                     filed no later than 5 days after the conclusion of mediation.

July 19, 2019        Comply with P.R. 3-7 (Opinion of Counsel Defenses)

June 28, 2019        *Claim Construction Hearing – 1:30 p.m. in Marshall, Texas before
                     Judge Rodney Gilstrap

June 14, 2019        *Comply with P.R. 4-5(d) (Joint Claim Construction Chart)

June 7, 2019         *Comply with P.R. 4-5(c) (Reply Claim Construction Brief)

May 31, 2019         Comply with P.R. 4-5(b) (Responsive Claim Construction Brief)

May 17, 2019         Comply with P.R. 4-5(a) (Opening Claim Construction Brief) and
                     Submit Technical Tutorials (if any)

                     Good cause must be shown to submit technical tutorials after the
                     deadline to comply with P.R. 4-5(a).

May 17, 2019         Deadline to Substantially Complete Document Production and
                     Exchange Privilege Logs

                     Counsel are expected to make good faith efforts to produce all
                     required documents as soon as they are available and not wait until
                     the substantial completion deadline.

May 3, 2019          Comply with P.R. 4-4 (Deadline to Complete Claim Construction
                     Discovery)

April 26, 2019       File Response to Amended Pleadings

April 12, 2019       *File Amended Pleadings

                     It is not necessary to seek leave of Court to amend pleadings prior to
                     this deadline unless the amendment seeks to assert additional patents.

April 5, 2019        Comply with P.R. 4-3 (Joint Claim Construction Statement)

March 15, 2019       Comply with P.R. 4-2 (Exchange Preliminary Claim Constructions)

February 22, 2019    Comply with P.R. 4-1 (Exchange Proposed Claim Terms)



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January 18, 2019           Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)
Previously
agreed/granted

December 10, 2018          *File Proposed Protective Order and Comply with Paragraphs 1 & 3
                           of the Discovery Order (Initial and Additional Disclosures)

                           The Proposed Protective Order shall be filed as a separate motion
                           with the caption indicating whether or not the proposed order is
                           opposed in any part.

December 3, 2018           *File Proposed Docket Control Order and Proposed Discovery Order

                           The Proposed Docket Control Order and Proposed Discovery Order
                           shall be filed as separate motions with the caption indicating whether
                           or not the proposed order is opposed in any part.

November 26, 2018          Join Additional Parties

November 23, 2018          *File Notice of Mediator

November 13, 2018          Comply with P.R. 3-1 & 3-2 (Infringement Contentions)
Previously
agreed/granted
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement,
the Court will appoint a mediator. The parties should not file a list of mediators to be considered
by the Court.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. For expert-related motions, complete digital copies of the
relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive.
These copies shall be delivered as soon as briefing has completed.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
to the local rules’ normal page limits.




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        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO
shall include a proposed order that lists all of the remaining dates in one column (as above) and
the proposed changes to each date in an additional adjacent column (if there is no change for a
date the proposed date column should remain blank or indicate that it is unchanged). In other
words, the DCO in the proposed order should be complete such that one can clearly see all the
remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
to an earlier version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

       So Ordered this
       Dec 4, 2018




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